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IN THE UNITED STATES DISTRICT COURT ALG 4
FOR THE EASTERN DISTRICT OF TEXAS meee
TYLER DIVISION

UNITED STATES OF AMERICA § ae
§ ;

v. § NO.6:17CR &

. § Judge CL JGR

THOMAS SHERROD §

   
   

INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

Count One
Violation: 21 U.S.C. § 841(a)(1)
(Possession with intent to distribute
methamphetamine)

On or about March 22, 2017, in Van Zandt County, Texas, in the Eastern District
of Texas, Thomas Sherrod, defendant, did knowingly and intentionally possess, with
intent to distribute, a Schedule II controlled substance, namely a distributable quantity of
a mixture or substance containing a detectable amount of methamphetamine, its salts,

isomers, or salts of its isomers.

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

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Count Two
Violation: 18 U.S.C. § 924(c)(1)(A)
(Possession of a firearm during drug
trafficking)

On or about March 22, 2017, in Van Zandt County, Texas, in the Eastern District
of Texas, Thomas Sherrod, defendant, did knowingly use, carry, and possess, a firearm,
namely, a Glock, model 27, .40 caliber pistol, s/n BY W764, during, in relation to, and in
furtherance of, a drug trafficking crime for which said defendant may be prosecuted in a
court of the United States, to wit: Possession with Intent to Distribute Methamphetamine,

in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), as alleged in Count One.

In violation of 18 U.S.C. § 924(c)(1)(A).

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Count Three

Violation: 18 U.S.C. § 922(g)(1)
(Felon in Possession of a Firearm)

On or about March 22, 2017, in Van Zandt County, Texas, in the Eastern
District of Texas, Thomas Sherrod, defendant, having been convicted of a crime
punishable by imprisonment for a term exceeding one year, to wit: Unlawful Possession
of a Firearm by a Felon, a felony, in Cause Number F-1324770-J, in the #3 Judicial
District Court in and for Dallas County, Texas, on April 4, 2014; Possession of a
Controlled Substance in Penalty Group One, in a quantity greater or equal to 1 gram, but
less than four grams, a felony, in Cause Number 2-10-20, in the 382nd Judicial District
Court in and for Rockwall County, Texas, on April 8, 2010; and, Possession of a
Controlled Substance, namely Methamphetamine, in the amount of less than one gram, a
felony, in Cause Number 21,388, in the 354 Judicial District Court in and for Hunt
County, Texas, on April 7, 2003; did knowingly and unlawfully possess, in and affecting
commerce, a firearm, to wit: a Glock, model 27, .40 caliber pistol, s/n BY W764, a Marlin
model Glenfield 60, .22 caliber rifle, s/n 18390026, a Loewe (Germany), model 1893,
7mm caliber rifle, s/n 9J9703, a Ruger, model 10/22, .22 caliber rifle, s/n 822-99657, a
Rohm (Germany), model Liberty 38T, .38 caliber revolver, s/n 189305, a Mosin Nagant,
7.62x53 caliber rifle, s/n PK4669, and a New England Firearms, Handi-Rifle SB2, .223

caliber rifle, s/n NN403324.

In violation of 18 U.S.C. § 922(g)(1) and 924(a)(2).

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NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
Pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853

As a result of committing the offenses alleged in this indictment, the defendant
shall forfeit to the United States of America pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C.
§ 2461(c), and 21 U.S.C. § 853:

1. Any property constituting, or derived from, and proceeds the defendant
obtained, directly or indirectly, as the result of such violation(s);

2. Any of the defendant’s property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of such violations, including
but not limited to the following:

Money Judgment:

$1,000 in United States currency and all interest and proceeds traceable thereto, in
that such sum is property constituting, or derived from, proceeds obtained by the
defendant, as the result of the foregoing offenses alleged in this indictment.

Firearms:

Glock, model 27, .40 caliber pistol, s/n BY W764

Fifty-nine (59) rounds of Winchester- Western .40 caliber ammunition
Marlin model Glenfield 60, .22 caliber rifle, s/n 18390026

Loewe (Germany), model 1893, 7mm caliber rifle, s/n 9J9703

Ruger, model 10/22, .22 caliber rifle, s/n 822-99657

Rohm (Germany), model Liberty 38T, .38 caliber revolver, s/n 189305
Twenty-eight (28) rounds of Federal .22 caliber ammunition

Mosin Nagant, 7.62x53 caliber rifle, s/n PK4669

New England Firearms, Handi-Rifle SB2, .223 caliber rifle, s/n
NN403324

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Substitute Assets:
If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

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(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with a third person;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) to seek forfeiture of
any other property of the defendant up to the value of the above forfeitable property,
including but not limited to all property, both real and personal, owned by the defendant.

By virtue of the commission of the felony offenses charged in this indictment, any
and all interest the defendant has in the above-described property is vested in the United

States and hereby forfeited to the United States pursuant to 18 U.S.C. § 924(d)(1), 28

U.S.C. § 2461(c), and 21 U.S.C. § 853.

     

GRAND JURY FOREPERSON

 

BRIT FEATHERSTON
ACTING UNITED STATES ATTORNEY

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JIM NOBLE Date
Assistant United States Attorney

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA

Vv.

THOMAS SHERROD

Violation:

Penalty:

Special Assessment:

Violation:

Penalty:

Special Assessment:

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TYLER DIVISION
§
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§ NO.6:17-CR-_____
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NOTICE OF PENALTY
Count One

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) (Possession with
Intent to Distribute Methamphetamine)

A fine of not more than $1,000,000.00, imprisonment for a
term not more than 20 years, or both; and a period of
supervised release of at least three (3) years.

$100.00
Count Two

18 U.S.C. § 924(c)(1) (Possession of a Firearm in Furtherance
of a Drug Trafficking Crime)

Imprisonment for not less than five (5) years, and up to life,
which must be served consecutively to the underlying
offense, plus a fine of up to $250,000.00, or both; a term of
supervised release of not more than five (5) years.

$100.00
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Count Three
Violation: 18 U.S.C. § 922(g)(1) (Felon in Possession of a Firearm)
Penalty: A fine of not more than $250,000.00; imprisonment for not

more than ten (10) years; a term of supervised release of not
more than three (3) years. 18 U.S.C. § 924(a)(2).

If the defendant has three prior convictions for a violent
felony or serious drug offense, or both, committed on
occasions different from one another, he or she shall be
imprisoned for not less than fifteen years, and, the court shall

not suspend the sentence of, or grant a probationary sentence
to said defendant. 18 U.S.C. § 924(e)(1).

Special Assessment: $100.00

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